 

Case 4:19-cv-00201-O Document 186-3 Filed 04/05/21 Page1of15 PagelD 3256

 

 

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Case 4:19-cv-00201-O Document 186-3 Filed 04/05/21
Conex Equipment Mfg. ‘DATE:
cnc & Manual Machining, Welding INVOICE #

FOR:
P:0. ‘Box 551 .
Kennedale, TX 76060 - BILL TO:
972-345-1689
817-451-1278:
‘Customer PO#
' DESCRIPTION " SO -

"4 ea: TC102270r Inter. Shak spacer @ $125,606
4 ‘pa: Te103070 Inter Shaft sealcap @ 5376.00 ea.
1 ea. TC101970 inter staf bra. Hea. @$1812.60ea.
* 4 ea, 16102170 Intef. Shait’brg. Spacer @ $126.00 ea.
‘fea. TG101870:inter shaft spacer @ $125.00 ea.
4 ed, 16101770 Brg. Hsg..@ $1968.75 2a.
. { es. 1G102570.Counler Sha @ $ 2500.00 ea.

- Delivery $175.00 -

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questions-cojceming this invoiced, contact Randy Lennard, 972-345-1689

THA NK YOU FOR YOUR BUSINESS!

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February 14, 2013
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David Conlon .
Tach-Con, Inc.
631 N. Nugent Ave

-.dohngon City. Tx 78836:

830-868-2886

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Case 4:19-cv-00201-O0 Document 186-3 Filed 04/05/21 Page3of15 PagelD 3258 oF
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Conex Equipment Mig. DATE? March 19, 2073 -
CNC & Maniial Machining, Welding: INVOICES 1240 |
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P.O. Box 554 Lt ; . . .
Kennedalé, TX 76060 BILL TO: ” Dovid Conton mo
972-345-1689 7, Teh Con. Inc’ :
817-451-4278 633-N, Nuigent Ave :
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Conex Equi pment Mfg. DATE: May 28,020%3° -
‘GNC & Manual Machining, Welding — ANVOIGE# = 3272
. FOR: ¥72500-1825
-P.O, Box 551
‘Kennedale, TX 76060" BILL TO: © David Conlon
972-345-1 6385 Tech-Con, Ine
817-451-1278 831 N. Nugent Ave
oe, oo -Jolingdn City, Tx 78638
" Gualomer POH 24 830-868-2886 ©
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TAX RATE
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THANK YQU FOR YOUR BUSINESS!

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Conex Equipment Mfg.

CNE & Manual Machining, Welding

- PO, Box 554
Kennedale, TX 76060
‘972-345-1699
817-451-1276.

Customer POH

DATE :
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Febnary 12, 2044
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FOR: - 2300

David Cofton .
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831 N. Nugent Ave
Johnson Gily, 1x 76636
830-868-2a86

BILL 10:

 

 

 

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Conex. Equipment. Mfg.

CNG: & Maniial Ma chining, Welding

DATE:

- Bo! Box $51 |
Kennedale, TX 76060
972-345-1689
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“Page & 6 of 15 “PagelD 3261

INVOICE #

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March 47,2014
1474-

David Conion.
Tech-Con, Inc:
631N, Nugent “Ave
* Jonison City: Tx 78636 °
830-864-2886

 

 

 

 

 

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P.O. Box 554
"Kennedale, TX 76060

972-345-1689

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‘DATE: —Apiil 2, 2014
ANVOICES t4B6 .

“PORS 2800

Customer POR 2064

‘BRL TO: — Dayid Conlon

TechCon, Inc .

. 634 N: Nugent Ave
Jotingop City, Tx.78836-
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THANK YOU FOR YOUR BUSINESS!

 

 

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Conex Equipment Mig. DATE: —Novirnber 11,2014
CNC & Mantial Machining, Welding JNVOICES 1608
. FOR:

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Kennédale, TX.76060 BILLTO: —_David'Conlon.
972-345-1869 | Tedt-on, ine
847-451-4278 631.N. Nugent Ave

oe ; Yeohngon City, Tx 78636

Customer POR ‘David 830-868-2886

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INVOICE b

Conex Equipment Mfg. bine: ni

CNC.& Mantial Machining, Welding. , _ INVOICE #. 1675. . i

FoR:

“P.O. Box 557 oo oo
Kennedale; TX 76060: BILETO; David Conlon
Q72-345-1689°- Tech-Can, Inc :

817-451-1278 ‘631-N; Nugent Ave. oy

_ Johnsoi. ity, Tx 78636°

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Customer POR David G90-68:2056 |

 

 

 
  
  
  

 

 

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Conex Equipment Mfg.

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Case 4:19-cv-00201-0 Document 186-3 Filed 04/05/21 Page 100f15 Pagelb3265 —*|
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- 0 INVOICE

ONG. & Manual Machining, Welding “ qNVOICER 16754, _

 

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‘P.O. Box 551
‘Kerinetate; 7X. 76060:
972-345-1689
A17-451-1278

“BILLTO: David Conlon:

Tech-Coa, Inc-. i. 7
831 N. ‘Nugent Ave. i
Johnson City, TX 78636 ‘ |
830-066-2686 \

Customer POH David.

 

  

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THANK you FOR.YOUR BUSINESS!”

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Case 4:19-cv- /-00201- oO Document 186- 3 ‘Filed 04/05/21 Page in of 15 PagelD 3266

Questions concaming this Involca, -contact’ Randy Lennerd, 672:845-1680

‘THANK Youror your BUSINESSI

 

 

Conex Equipment Mfg. DATE: Febriary 5, 2016
CNG & Manual Machining, Welding INVOICE # * 1336— ae
FoR: 2300 .

P.O, Box 551
Kennedale; TX 76060 BILL TOr David Conlon
Fech-Cori, inc
631.N. Nugent Ave
ee. Jolinsonr ity: 13 78636
Customer PO# 2567 830-868-2086

972-345-1839
817-451-1278

  

 

 
 

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Conex.Equipment Mfg.

GNG & Mantial Machining, Welding

* P.O. Box 554
Kennedale, FX 78060.
972-345-1689

817-451-1278. .

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INVOICES
FOR:

BILL To:

 

Apri 14,2016.

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David Conlon

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c , aso ; a ye Johnson City, Tx 76536
Customer PO# David Conlon G02" 830-868-2086.

 

 

 

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' Conex Equipment Mfg.

‘ONG & Manual Machining, Welding

_ PO, Box 551.
Kénnedale,.TX76060
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July 29, 2087
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David Conlon -

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BULL TO:

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SHBETOFE!,
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SALES vax

 

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